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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HLT EXISTING FRANCHISE HOLDING
LLC and HILTON DOMESTIC
OPERATING COMPANY INC.,

                           Plaintiffs,               21 Civ. 5842 (KPF)
                    -v.-                                   ORDER
MAA AMBA, INC., DILIP G. PATEL, and
NAINA D. PATEL,

                           Defendants.

KATHERINE POLK FAILLA, District Judge:

      On November 10, 2021, it was reported to the Court that this case has

been settled. Accordingly, it is hereby:

      ORDERED that this action be conditionally discontinued without

prejudice and without costs; provided, however, that within thirty (30) days of

the date of this Order, the parties may submit to the Court their own

Stipulation of Settlement and Dismissal for the Court to So Order. Otherwise,

within such time Plaintiffs may apply by letter for restoration of the action to

the active calendar of this Court in the event that the settlement is not

consummated. Upon such application for reinstatement, the parties shall

continue to be subject to the Court’s jurisdiction, the Court shall promptly

reinstate the action to its active docket, and the parties shall be directed to

appear before the Court, without the necessity of additional process, on a date

within ten (10) days of the application, to schedule remaining pretrial

proceedings and/or dispositive motions, as appropriate. This Order shall be
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deemed a final discontinuance of the action with prejudice in the event that

Plaintiffs have not requested restoration of the case to the active calendar

within such 30-day period.

      The Clerk of Court is directed to terminate all pending motions, adjourn

all remaining dates, and close this case.

      SO ORDERED.

Dated: November 10, 2021
       New York, New York

                                              KATHERINE POLK FAILLA
                                             United States District Judge




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